          Case 1:18-mj-00068-DAR Document 3 Filed 07/19/18 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                            :
                                                    :
                                                    :
              v.                                    :      Crim. No.: 18-mj-00068 (DAR)
                                                    :
                                                    :
JONATHAN TUAN-ANH TRAN                              :
                                                    :
                                                    :
                       Defendant.                   :



                         GOVERNMENT’S MOTION TO DISMISS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves to dismiss without prejudice both counts of the

Complaint filed on July 9, 2018 charging the defendant with Contempt of Court, 18 U.S.C.

§401(3) and Possession of a Prohibited Weapon (Switchblade Knife), 22 D.C. Code 4514(a).

                                                    Respectfully submitted,

                                                    JESSIE K. LIU
                                                    UNITED STATES ATTORNEY
                                                    D.C. Bar No. 472-845

                                               By: ________/s/________________
                                                   KENNETH C. KOHL
                                                   D.C. Bar No. 476-236
                                                   Assistant United States Attorney
                                                   National Security Section
                                                   United States Attorney’s Office
                                                   555 4th Street, N.W.
                                                   Washington, D.C. 20530
                                                   Ken.Kohl@usdoj.gov
                                                   (202) 252-7793

Dated: July 19, 2018
          Case 1:18-mj-00068-DAR Document 3 Filed 07/19/18 Page 2 of 2




                                     Certificate of Service

       I hereby certify that a copy of the foregoing has been filed with the Court on ECF and will

be served, along with its attachments, via email on counsel of record in United States v. Jonathan

Tuan-Anh Tran, Crim. No. 18-mj-00068 (DAR) on July 19, 2018.


                                                    /s/ Kenneth C. Kohl
                                                    Kenneth C. Kohl
                                                    Assistant United States Attorney




                                                2
